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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

Siemens Product Lifecycle Management
Software Inc.,                                  Civil Action No. 4:18-cv-109
                     Plaintiff,

v.                                              JURY TRIAL DEMANDED

Mercury Metal Forming Technologies, LLC,

                     Defendant.




        PLAINTIFF’S SUPPLEMENT IN SUPPORT OF MOTION FOR DEFAULT JUDGMENT


       Plaintiff Siemens Product Lifecycle Management Software Inc. (“Plaintiff”) files this

supplement in support of its Motion for Default Judgment (Dkt. 8), which was filed on May 1,

2018 and heard on June 12, 2018. (Dkt. 12). At the June 12, 2018 hearing, Plaintiff’s counsel

described Siemens PLM’s multi-year effort to enforce its software copyrights against Defendant

Mercury Metal Forming Technologies, LLC (“Mercury Metal”). Counsel set out the evidence

submitted in support of Siemens PLM’s claim for damages, as well as counsel’s efforts to

contact Mercury Metal regarding these proceedings. The Court indicated that before it would

enter a default judgment against Mercury Metal, Siemens PLM needed to supplement its filings

describing counsel’s efforts to contact Mercury Metal prior to the entry of the requested

defaulted judgment. The Court also indicated that it required additional support for Siemens

PLM’s claims for attorneys’ fees and costs. Siemens PLM’s supplemental filing provides this

information, which is supported by the affidavits of Siemens PLM’s counsel. See Ex. A, Riddle




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Affidavit; Ex. B, Bluebond Affidavit. This filing, including its exhibits and attachments, will be

served on Mr. Randall Starks, Mercury Metal’s registered agent and president.

       Siemens PLM renews its request for entry of default judgment against Defendant

Mercury Metal Forming Technologies, LLC, and states the following in support of its Motion for

Default for Judgment:

       1.      Siemens PLM seeks its second default judgment against Mercury Metal in this

Court. After Siemens PLM obtained a default judgment against Mercury Metal in Cause No.

4:14CV2 in the United States District Court, Eastern District of Texas, Siemens PLM agreed not

to enforce that judgment as part of a November 25, 2014 Settlement Agreement and Release

between Mercury Metal and Siemens PLM (Dkt. 8, Ex. A, Fujii Affidavit).

       2.       Mercury Metal breached this Settlement Agreement by failing to timely pay

Siemens PLM and by continuing to use Plaintiff’s proprietary software without a license. Before

its breach, Mercury Metal made three payments in the amount of $2,000 each to Plaintiff. (Dkt.

1 at ¶ 8; Dkt. 8, Ex. A, Fujii Aff. at ¶ 14). After Mercury Metal defaulted on its payments,

Siemens PLM discovered that Mercury Metal also breached the Settlement Agreement and

Release by continuing to use unlicensed versions of Siemens PLM’s software between February

12, 2016 and October 25, 2017. (Dkt. 8, Ex. A, Fujii Aff. at ¶¶ 42-43).

       3.      After Siemens PLM discovered the post-settlement infringements, Plaintiff’s

counsel contacted the attorney representing Mercury Metal in entering the Settlement Agreement

and Release.    (Ex. C, Bluebond Email to Paul Zalewski, November 7, 2017).               In that

correspondence, Siemens PLM informed counsel that Mercury Metal failed to make $66,000 in

monthly payments under the Settlement Agreement and Release and that Mercury Metal had

continued its unlicensed use of Siemens PLM’s software on nineteen different occasions between




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February 12, 2016 and October 25, 2017. Siemens PLM explained that “[t]hese infringements

are both breaches of the settlement agreement and violations of Siemens PLM intellectual

property rights,” and demanded that Mercury Metal cease and desist its unlicensed use of

Siemens PLM software and confirm the destruction of same in writing to Siemens PLM. (Id.).

Mr. Zalewski called on or around November 8, 2017 to indicate that he no longer represented

Mercury Metal and had not been in contact with Mercury Metal since negotiating the Settlement

Agreement and Release. (Ex. B, Bluebond Aff. ¶ 4). Mr. Zalewski could not provide contact

information for new counsel, and was not aware if Mercury Metal had retained another attorney.

(Id. ¶ 4).

        4.     After confirming that Mercury Metal was not represented by its former counsel,

Siemens PLM sent a cease and desist letter to Mercury Metal on December 6, 2017. (Ex. D,

Letter from Andrew Bluebond to Randall Starks, December 6, 2017). Mercury Metal did not

respond, although Siemens PLM’s counsel has confirmed that its correspondence was received

by Mercury Metal.

        5.     Plaintiff’s counsel then attempted to contact Mercury Metal through Randall

Starks, directly by telephone, including by leaving messages with staff. (Ex. B ¶ 6). None of

counsel’s calls were returned. (Id. ¶ 6).

        6.     On February 16, 2018, Plaintiff filed its Complaint (the “Complaint”) in the

above-captioned matter. (Dkt. 1).

        7.     Defendant was served with process via service on its President, Randall Starks, on

February 19, 2018, and a return of service, including Proof of Service, was filed with the Court

on March 27, 2018. (Dkt. 5).

        8.     Defendant, after having been duly served with process, failed to appear and




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answer within the time required by the Federal Rules of Civil Procedure, which was on or before

March 12, 2018.

        9.      Defendant did not serve a responsive pleading or otherwise defend against

Plaintiff’s claims.

        10.     On April 4, 2018, Plaintiff requested entry of default. (Dkt. 6). On April 6, 2018,

the Court ordered a default be entered against the Defendant on the docket for failure to answer

or otherwise plead. (Dkt. 7).

        11.     Despite being properly served in this case, which proceeds in this Court because

of a venue provision the parties agreed to while Mercury Metal was represented by counsel,

Defendant has not made an appearance.

        12.     Siemens PLM’s counsel has made multiple efforts to contact Defendant,

including through its prior counsel, before filing this suit.

        13.     Since being served with this lawsuit, Mercury Metal has refused correspondence

from Plaintiff’s Counsel.     When Siemens PLM filed its Motion for Default Judgment and

attempted to have it delivered to Mercury Metal’s business address, Mercury Metal “refused” the

CMRRR delivery of the motion. (Ex. E, Returned Letter to Randall Starks).

        14.     The Court later set Siemens PLM’s motion for a hearing on June 12, 2018. (Dkt.

12). Siemens PLM did not serve a separate notice of that hearing on Mercury Metal.1




1 During the June 12, 2018 hearing, Magistrate Judge Kimberly C. Priest Johnson asked counsel
if Mercury Metal had been given notice of the hearing. Counsel answered “yes,” understanding
that Mercury Metal had been served with the lawsuit and began refusing to receive filings
documents from Siemens PLM on June 2, 2018. (Ex. E, Returned Letter to Randall Starks).
Counsel adds this statement to the supplement filing to avoid any doubt the notice provided to
Mercury Metal.



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                                          Monetary Damages

       15.     Plaintiff seeks monetary damages for both breach of contract and willful

infringement of copyrights against Defendant. With the exception of the attorneys’ fees sought

below, Plaintiff’s damages for its breach of contract and willful copyright violation claims are

supported by the documentation and affidavit offered in support of its Motion for Entry of

Default Judgment. (Dkt. 8). This supplemental filing offers support for Siemens PLM’s claims

for attorneys’ fees and costs.

    Mercury Metal’s breach of Settlement Agreement entitles Siemens PLM to recover
                               attorneys’ fees and costs.

       16.     Under the Settlement Agreement and Release, Defendant agreed to discontinue

use of any unlicensed copy or instant of Plaintiff’s proprietary software and pay Plaintiff a total

of $167,500 over a period of eighty-four (84) months in exchange for Plaintiff’s release of

Defendant. (Dkt. 1 at ¶¶ 7, 12–13; Dkt. 8, Ex. A, Fujii Aff. at ¶¶ 10–13)

       17.     Defendant breached this Settlement Agreement by failing to timely pay Plaintiff

and by continuing to use Plaintiff’s proprietary software without a license. (Dkt. 8, Ex. A, Fujii

Aff. at ¶¶ 14-15). Plaintiff has provided Defendant with written notices and opportunities to cure

Defendant’s breach of the Settlement Agreement and Release. (Id. at ¶ 15). Defendant has

neither responded to those notices nor made payments to Plaintiff to cure the breach. Id.

       18.     Plaintiff’s reasonable costs and attorneys’ fees incurred in bringing these breach

of contract claims are recoverably by Siemens PLM pursuant to Paragraph 14 of the Settlement

Agreement and Release.

  Mercury Metal’s willful copyright infringements also entitled Siemens PLM to recover
                                     attorneys’ fees.

       19.     Defendant willfully infringed Plaintiff’s copyrights in Plaintiff’s software by




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knowingly downloading and using Plaintiff’s software without obtaining a license to do so.

Defendant has, through its non-appearance, failed to contest these infringement and willfulness

allegations or otherwise establish its belief in any alleged innocence for its conduct.      As

demonstrated during the June 12 hearing, Plaintiff is accordingly entitled to damages up to

$150,000 for this violation of its copyrights. Further, Siemens PLM may recover its attorneys’

fees and costs in bringing the willful copyright infringement claim.

       20.     In support of Siemens PLM’s recovery of attorneys’ fees, Siemens PLM submits

the affidavit of Robert Riddle, Siemens PLM’s counsel throughout this dispute with Mercury

Metal. As detailed in the affidavit, Siemens PLM incurred attorneys’ fees of $17,473.20 and

costs of $1,121.78. These fees were reasonable and necessary for Siemens PLM to enforce the

Settlement Agreement and Release and protect Siemens PLM’s valuable intellectual property

rights against a known, willful violator.

       Plaintiff respectfully requests that this Court enter judgment in its favor and against

Defendant in the manner set forth in the Proposed Order simultaneously submitted herewith.

DATED: July 27, 2018                             Respectfully submitted,

                                                 /s/ Robert R. Riddle
                                                 Robert R. Riddle
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                                                 Counsel for Plaintiff
                                                 Siemens Product Lifecycle Management
                                                 Software Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that this filing is being served with a copy of this document on this 27th
day of July, 2018 in accordance with the Federal Rules via CM/ECF, or as otherwise indicated
below.

       Mercury Metal Forming Technologies, LLC
       c/o Registered Agent, Randell N. Starks
       29440 Calahan Road
       Roseville, Michigan 48066
       Via Certified Mail and Personal Service


                                             /s/ Robert R. Riddle
                                             Robert R. Riddle




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